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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                   Plaintiff,                 )
                                              )
            vs.                               )                8:05CR282
                                              )
RUSSELL HOFFMAN,                              )         SCHEDULING ORDER
WILLIAM SCHWENING,                            )
                                              )
                   Defendant.                 )



      ON THE COURT’S OWN MOTION,

       IT IS ORDERED that the telephone conference regarding the 17.1 hearing is
rescheduled to June 19, 2006 at 3:00 p.m. before Magistrate Judge F.A. Gossett,
Courtroom No. 6, Second Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18 th
Plaza, Omaha, Nebraska.

      DATED this 20th day of March, 2006.

                                           BY THE COURT:


                                           s/ F.A. Gossett
                                           United States Magistrate Judge
